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                No. 22-10077 consolidated with No. 22-10534

     In the United States Court of Appeals
             for the Fifth Circuit
    U.S. Navy SEALs 1-26; U.S. Navy Special Warfare
   Combatant Craft Crewmen 1-5; U.S. Navy Explosive
  Ordnance Disposal Technician 1; U.S. Navy Divers 1-3,
                                       Plaintiffs-Appellees,
                                      v.
Joseph R. Biden, Jr., in his official capacity as President of the United
    States of America; Lloyd Austin, Secretary, U.S. Department of
Defense, individually and in his official capacity as United States Secretary
 of Defense; United States Department of Defense; Carlos
   Del Toro, individually and in his official capacity as United States
                          Secretary of the Navy,
                                                       Defendants-Appellants.

                On Appeal from the United States District Court
            for the Northern District of Texas, Fort Worth Division
                              No. 4:21-cv-01236

   RESPONSE TO MOTION TO HOLD APPEAL IN
                ABEYANCE

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        There is no reason to abate the appeal or remove the argument from the
calendar, as the Court already implicitly recognized in its January 3 Order carrying

the motion with the case. Regardless, the sole basis for the Defendant-Appellants’
Motion to Hold Appeal in Abeyance has now been negated. Thus, Plaintiffs-
Appellees respectfully request that the Court deny the Motion.
        1.   The sole basis for Defendants-Appellants’ motion was that the
Secretary of Defense had not yet implemented the James M. Inhofe National
Defense Authorization Act for Fiscal Year 2023 (FY23 NDAA). See Mot. to Hold

Appeal in Abeyance at 3 (“The government accordingly requests that this appeal be
held in abeyance, and the oral argument removed from the February 6 calendar,
pending the Secretary’s action in response to Section 525.”).
        2.   The Secretary has now implemented that statute. On January 10, 2023,
the Secretary issued a Memorandum rescinding the vaccine mandate in compliance
with the FY23 NDAA.1 The Memorandum states that no individuals serving in the

Armed Forces may be separated solely because of their refusal to take the COVID-
19 vaccine and orders that any adverse actions associated with any denials of religious
accommodation requests be removed from such individuals’ records. 2 But the

Memorandum goes on to state that vaccination status may still be considered “in

    1
      Secretary of Defense, Memorandum, “Rescission of August 24, 2021 and
November 30, 2021 Coronavirus Disease 2019 Vaccination Requirements for
Members of the Armed Forces” (Jan. 10, 2023), https://media.defense.gov/2023
/Jan/10/2003143118/-1/-1/1/SECRETARY-OF-DEFENSE-MEMO-ON-
RESCISSION-OF-CORONAVIRUS-DISEASE-2019-VACCINATION-
REQUIREMENTS-FOR-MEMBERS-OF-THE-ARMED-FORCES.PDF.
    2
      Id.
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making deployment, assignment, and other operational decisions.” 3 The Navy also
issued guidance on January 11. 4

        3.   As suggested by Defendants-Appellants in their Motion, see Mot. at 2,
on January 4, the Court ordered the parties to file supplemental letter briefs
addressing the issue of mootness. Thus, Plaintiffs-Appellees will address the above

Memorandum and guidance and the issue of mootness in their supplemental brief to
be filed on January 27, 2023.




    Id. at 2.
    3
    4
     NAVADMIN 005/23, “REMOVAL OF COVID-19 VACCINATION
MANDATE” (Jan. 11, 2023), https://www.mynavyhr.navy.mil/Portals/55/
Messages/NAVADMIN/NAV2023/NAV23005.txt?ver=a3G5K2LQwybusE7ET
K7uLQ%3d%3d.
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                              Conclusion
     For the foregoing reasons, Plaintiffs-Appellees respectfully request that the
Court deny the Motion to Hold Appeal in Abeyance.

                                           Respectfully submitted.

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                      Certificate of Service
    On January 13, 2023, this motion was served via CM/ECF on all registered
counsel and transmitted to the Clerk of the Court. Counsel further certifies that:
(1) any required privacy redactions have been made in compliance with Fifth Circuit
Rule 25.2.13; and (2) the electronic submission is an exact copy of any paper
document in compliance with Fifth Circuit Rule 25.2.1.

                                      /s/ Heather Gebelin Hacker
                                      H EATHER G E BELIN H ACKER

                   Certificate of Compliance
    This brief complies with: (1) the type-volume limitation of Federal Rule of
Appellate Procedure 27(d)(2)(A) because it contains 349 words, excluding the parts
exempted by Rule 27(a)(2)(B); and (2) the typeface and type style requirements of
Rule 27(d)(1)(E) because it has been prepared in a proportionally spaced typeface
(14-point Equity) using Microsoft Word (the program used for the word count).

                                      /s/ Heather Gebelin Hacker
                                      H EATHER G E BELIN H ACKER
